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  IN THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF FLORIDA
  -----------------------------------------------------------------x
  JIANGMEN BENLIDA PRINTED                                             CM/ECF
  CIRCUIT CO., LTD.,
                                                                       Civil Action No.: 21-60125-CIV-
                               Plaintiff,                              SCOLA/SNOW
               -against-

  CIRCUITRONIX LLC,

                                Defendant.
  -----------------------------------------------------------------x

                   Notice of Withdrawal of Motion for Partial Summary Judgment

          Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd., by and through counsel, Mazzola

  Lindstrom LLP, respectfully withdraws its motion for partial summary judgment without

  prejudice.


  Dated: New York, New York
         March 16, 2022
                                                                Respectfully submitted,
                                                                MAZZOLA LINDSTROM LLP



                                                       By:      ______________________
                                                                Jean-Claude Mazzola, Esq.
                                                                1350 Avenue of the Americas, 2nd Floor
                                                                New York, NY 10019
                                                                Tel: (646) 250-6666
                                                                Attorneys for Plaintiff

  To:     Chauncey D. Cole IV, Esq. (via email)
          Stephen F. Rosenthal, Esq. (via email)
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                                       Certificate of Service
  I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
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  Court using CM/ECF.


                                              By:     ______________________
                                                      Jean-Claude Mazzola, Esq.
